              Case 5:23-cv-02022-SVW-PD Document 3 Filed 10/03/23 Page 1 of 1 Page ID #:38
                                                                                  HABEAS,CLOSED,TRANSFERRED
                                        U.S. District Court
                      Eastern District of California − Live System (Fresno)
                       CIVIL DOCKET FOR CASE #: 1:23−cv−01417−SKO

(HC) Mina v. Macomber                                                   Date Filed: 09/28/2023
Assigned to: Magistrate Judge Sheila K. Oberto                          Date Terminated: 10/03/2023
Cause: 28:2254 Petition for Writ of Habeas Corpus (State)               Jury Demand: None
                                                                        Nature of Suit: 530 Habeas Corpus (General)
                                                                        Jurisdiction: Federal Question
Petitioner
Wilfredo Mina                                               represented by Wilfredo Mina
                                                                           BB−7907
                                                                           CORRECTIONAL TRAINING FACILITY
                                                                           (705)
                                                                           P.O. BOX 705
                                                                           SOLEDAD, CA 93960−0705
                                                                           PRO SE


V.
Respondent
Jeff Macomber
Secretary


 Date Filed       #    Docket Text

 09/28/2023      Ï1    (2254) PETITION for WRIT of HABEAS CORPUS against Jeff Macomber by Wilfredo
                       Mina.(Xiong, J.) (Entered: 09/28/2023)

 10/03/2023      Ï2    ORDER TRANSFERRING CASE to the United States District Court for the Central District of
                       California signed by Magistrate Judge Sheila K. Oberto on 10/2/2023. (Xiong, J.) (Entered:
                       10/03/2023)

 10/03/2023       Ï    SERVICE BY MAIL: 2 Order served on Wilfredo Mina. (Xiong, J.) (Entered: 10/03/2023)
